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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

ALAJIA B. TURNER,                                     2:20-CV-10374-TGB

                   Plaintiff,

                                                    ORDER OF DISMISSAL
      vs.

STATE FARM MUTUAL INSURANCE                   HONORABLE TERRENCE G. BERG
COMPANY,

                   Defendant.



      The Court was notified that the parties had reached a resolution in this

matter. Therefore, the case will be dismissed.

      Accordingly, it is ORDERED that the Complaint is DISMISSED WITH

PREJUDICE. The Court retains jurisdiction over this matter to enforce the terms

of the settlement agreement. See, e.g., Moore v. United States Postal Serv., 369 Fed.

App’x 712 (6th Cir. 2010).

      SO ORDERED.

      DATED this 23rd day of March, 2021.

                                       BY THE COURT:



                                       /s/Terrence G. Berg
                                       TERRENCE G. BERG
                                       United States District Judge
